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        ORDERED in the Southern District of Florida on March 21, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                                       CASE NO.: 23-10359-BKC-RAM
                                                                     PROCEEDING UNDER CHAPTER 13

  IN RE:

  MARGARITA MANUELA INFANTE ARIAS

  _____________________________/
  DEBTOR

        ORDER CONTINUING CONFIRMATION HEARING, TRUSTEE'S OBJECTION TO
         EXEMPTIONS AND MAKING ALL DEBTOR PAYMENTS NON-REFUNDABLE

      THIS CASE came before the court on the Chapter 13 Consent Calendar on March 14, 2023 and based
  on the record it is,

     ORDERED as follows:

     1. The Confirmation Hearing and the Trustee's Objection to Exemptions is continued to April 11,
        2023 at 1:35 pm. The hearing will be conducted by video conference. For instructions, please
        refer to the General Procedures for Hearings By Video Conference on the Court’s website. To
        participate in the hearing, you must register for the video conference no later than 3:00 pm one
        business day before the date of the hearing. To participate, click on the following link or manually
        enter the following link in a browser:
        https://www.zoomgov.com/meeting/register/vJItdOyvrjIvGmlCDrtlqCZrs_TzvTdyAJ0
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   ORDER CONTINUING CONFIRMATION HEARING, TRUSTEE'S OBJECTION TO EXEMPTIONS AND MAKING ALL DEBTOR
                                                                         PAYMENTS NON-REFUNDABLE
                                                                          CASE NO.: 23-10359-BKC-RAM



  2. The Debtor is ordered to continue making payments each month to the Chapter 13 Trustee in
     accordance with the last filed Chapter 13 Plan. Failure to continue payments may result in the
     dismissal of this case.

  3. As a condition for the continued confirmation hearing and delay of payments to creditors, all
     payments held by the Chapter 13 Trustee shall be non-refundable and held in trust for the secured
     creditors as adequate protection, and in trust for priority and administrative creditors.

  4. If this case is dismissed or converted, the Trustee shall disburse all funds which were received
     prior to the order of conversion or dismissal and held in trust. The disbursement shall be on a pro
     rata basis, less Trustee fees, to the secured, priority or administrative creditors pursuant to the
     proposed Chapter 13 Plan which was filed at least one day prior to last confirmation hearing date.


                                                 ###

ORDER SUBMITTED BY:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

COPIES FURNISHED TO:

DEBTOR
MARGARITA MANUELA INFANTE ARIAS
834 E 32 STREET
HIALEAH, FL 33013

ATTORNEY FOR DEBTOR
JOSE BLANCO, ESQUIRE
102 E 49TH ST
HIALEAH, FL 33013

JOSE BLANCO, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
ORDER TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
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    ORDER CONTINUING CONFIRMATION HEARING, TRUSTEE'S OBJECTION TO EXEMPTIONS AND MAKING ALL DEBTOR
                                                                          PAYMENTS NON-REFUNDABLE
                                                                           CASE NO.: 23-10359-BKC-RAM

JOSE BLANCO, ESQUIRE is directed to mail a conformed copy of this Order to all creditors and
interested parties, immediately upon receipt thereof.
